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ProSe-l 2016 ` '
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2 ______Looa£o __REcElvEn »
. , _JUL -3»201@ __
' _ , ' . ` BWEST.__N"`§ `
4 y .\ _ 9 ' _ DEPUTY
__ 5
6 UNITED sTATEs DISTRICT coURT

WESTERN DISTRICT OF WASHINGTON

§ @z:/»»r%m '/__ 1_9__<_:_:____\1 __ 9855@,"

 

 

 

l (/ [to be filled m by Clerk’s Office]
_ COMPLAINT FOR A CIVIL CASE

10 -

` ' Jury Trial: l:l Yes l:l No
1 1 Plaintiff(s),
v.
2 _F=-
,1 /e)<a §

 

13' , A'//Or`h-e§/

1`4_ G@V)er~e /

 

 

15 ` Defendant(s).
16
17 _ I. THE PARTIES To THIS COMPLAINT

18 A. Plaintiff(s)

19 Provide the information below for each plazntljj€ named m the complaint. Attach
addltzonal pages zf needed -

2:0 Name &ZSZ§>Q r%h?j/P

 

 

 

 

 

21 4 Street Address %O 4 W/A/.F U<f €`
22 City and County £y{ng#, 5 140 510 wu fla 50 ij
23 State and Zip Code . y _‘()O' A- `
Telephone Number
24` `

COMPLAINT FOR A CIVIL CASE - l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

y CaSe 2:18-0\/- 00985- .]CC Document 1- 1 Filed 07/03/18 Page 2 of 6
' Pro se 1 2016
l B. ' Defendant(s)
2 Provide the information below for each defendant named in the complaint whether the
defendant' is an individual, a government agency an organization or a corporation For an
3 individuai defendmit; inc ciude the pmson ’s~job oriitle (ifknown) Attm:h ndditionaipages if
needed. . _ ,
` Defendant No. 1 _ ' v `
Nam° j /exa$ 71be )' 691/here _
6 4 , . J<>b or Tine (ifknown) '_ ’
7 _ Str_eCt -Address
8 City and County
4St:ate and Zip Code ` _
9' _ , . ` ' _ Telephone Number ' » ` ' 1 ' -` '
` 10 » `
y _ Defenth No. 2
l 1
' Name
12 y Job or Title _(ifknown) _
13 Street Address
14 City and Connty
State and Zip Code
15 l Telephone Number
16 '-
` Defendant No. 3
17
Name
18 10b or me @f/mown)
19 street Address
20 City and County
State and Zip Code
21 Telephone Number
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Defenth No. 4

Name

 

_ __1_91>_9: T_i_f_l§ _(zfi'»i_e_»_v_'_@)__ ` _ y _ _ _

 

Street Address .

 

City and County

 

State and Zip Code

 

Telephone Number

 

II.' BASIS FOR JURISDICTION
1 ,Federal courts are courts of limited jurisdiction `(limited power). Generally_only two b
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
the United States Constitution or federal laws or treaties is a federal question case. Under 28
U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff
What is the basis for federal court jurisdiction?' (check all that apply)
|j/Federal question |:| Diversity of citizenship
Fill out the paragraphs in this section that apply to this case. `
A. ~ If the Basis for Jurisdiction Is a Federal Question
l List the specili`c federal statutes, federal treaties, and/or provisions of the United States `

Constitution that are at issue in this case.
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2 COMPLAINT FORA CIVIL CASE - 3

 

 

 

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l B.'- If the Basis for Jurisdiction ls Diversity of Citizenship
2 2 1_ The Plaintiff(s) ‘
3 a 73_~~1»[~»¢113 piajnt'rffis anindiv'rdual_7 7 77 ~ 77- 77 77 ~~ 77 777 7 ~7-- 7
`4 The plaintiff (name) ' q ' _ is a citizen of ins `
9 5 State of (name)
6 b. If the plaintiff is a corporation b b y
7 The plaintiff, (name) ' f . is incorporated under
8 the laws of the`State of (name) ` 7 _ is incorporated under
_` _ 9 _thelawsjofth_e_ State of~(name)~ 1 * ' 1 * - . and has its principal
10 place of business in the State~of (name) l
11 , (If more than one pla1ntijf is named' m the complaint, attach an additional page providing
12 the same information for each additional plaintif)
13 2. n The Defendant(s)
14 a. ifths defendant is an individnal.
15 The defendant, (name) . is a citizen of the
16 State of (name) 1 ` ' q . Or is a citizen of q
17 (foreign nation)
11 8 b. If the defendant is a corporation
19 ` Thedefendant, (name) l . is incorporated under
` 20 the laws of the state of (name) 1 7 . and has its principal
21 place of business in`the State of (name)
22 Or is incorporated under the laws of (foreign nation) v ' _ ,`
23 and has its principal place of business-in (name)
(If more than one defendant is named in the complaint attach an additional page

providing the same information for each additional defendant.)

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` 3`. l The Amount in Controversy.

The amount in controversy-the amount the plaintiff claims the defendant owes or the

 

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amount at stake-is more than $75,600,' notcountinginterest'andicosts;of-court;because(eaplain):' » ~

 

 

 

III. STATEMENT OF CLAIM

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as
possible the facts showing that each plaintyf is entitled to the damages or other relief sought
State how each defendant was involved and what each defendant did that caused the plaintin
harm or violated the plaintijj"s rights, including the dates and places of that involvement or
conduct If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in z separate paragraph Attach additional pages if needed

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IV. RELIEF

State briefly and precisely what damages or other relief the plainti]fasks the court to order. Do
not make legal arguments Include any basis for claiming that the wrongs alleged are continuing
at the present time. Include the amounts of any actual damages claimed for the acts alleged and
the basis for these amounts. Include any punitive or exemplary damages claimed, the amounts,
and the reasons you claim youf_` are entitled to actual or punitive money damages

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' v. CERTIFICATIoN AND_cLoslNG
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint (l) is not being presented for an improper g 7

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purpose, such astto harass, cause unnecessary delay, or needlessly increase the cost of litigation;'

(2) is supported by existing law or by a nonfn`volous argument for extending, modifying, or

reversing-existinglaw;'{?r)the»faetual-contentions'have'evidentiary support'or,~if-speeiiical~lyso-~--~--~ -» -~ -- ~¢ ~ d

g identiiied, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwisecomplies with the requirements of
Rule 11.’

I agree to provide the Clerk's Office with any changes to my address where ease-related
papers may be served. I understand that my failure to keep a current address on file with the \'

Clerk's Qflice may result in the dismissal of my case. _
Dateofsigning: <\ l 07/0'3'/2(9/`?/
`Signature of Plaintii:f C@?M g
Printed Name of Piaintiff Gi`l€\ ii V\ `PQ W\'j»lp” LQ

n Date of signing:

 

 

y Signature of Plaintiff

Printed Name of Plaimiff

 

Date of signing:

 

signature of Plaintiff

 

Printed Name of Plaintiff

 

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